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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :       Case No.: 21-CR-642
               v.                            :
                                             :
DARRELL NEELY                                :
                                             :
                                             :
                      Defendant.             :


                                 NOTICE OF APPEARANCE

       The United States of America, through undersigned counsel, hereby informs the Court

that Assistant United States Attorney Michael L. Barclay is entering his appearance in the above-

captioned matter as counsel for the United States.

                                                     Respectfully submitted,

DATED:         March 8, 2023                         MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052


                                             By:     /s/ Michael L. Barclay
                                                     Michael L. Barclay
                                                     Assistant United States Attorney
                                                     Member of NY Bar
                                                     United States Attorney’s Office
                                                     District of Columbia
                                                     202-252-7669
                                                     Michael.Barclay@usdoj.gov
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                               CERTIFICATE OF SERVICE

       On this 8th day of March 2023, a copy of the foregoing was served upon all parties listed
on the Electronic Case Filing (ECF) System.

                                                   /s/ Michael L. Barclay________________
                                                   MICHAEL L. BARCLAY
                                                   Assistant United States Attorney




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